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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS f EB 2 8 M
                                   SHERMAN DIVISION
                                                                                    Clerk, U.S, District Court
                                                    «    ''   Texas             Eastern
                                                    9
  DAVID E. MACK                                                             §       -
    Plaintiff, §
                                                    §
  vs § Case. No. 4:18-cv-0006-ALM-CAN
                                                    §
  EXPERIAN INFORMATION §
  SOLUTIONS, INC., TRANS UNION, LLC, §
  EQUIFAX INC. §
             Defendants. §
                                                    §

                              NOTICE OF NO SETTLEMENT
         NOW COMES the Plaintiff, David E. Mack, and hereby informs the Court that a

  settlement of the above captioned matter was thought to have been reached between Plaintiff,

  David E. Mack, and Defendant Equifax Inc. (Equifax) on February 2, 2018 when Plaintiff filed

  a Notice of Settlement with the Court. [Doc. 14] Unfortunately the parties have not been able to

  agree on settlement language as Equifax demands settlement terms that are outside the scope of

  the original agreement to which Plaintiff will not agree. Equifax has consequently withdrawn its

  offer of settlement and the parties intend to proceed before the Court.




                                                    Respectfully Submitted,




                                                    David E Mack
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                                  CERTIFICATE OF SERVICE

  This is to certify t at a true and correct copy of the foregoing document was served on the
  parties listed below via email on the date below.

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                                                Dated February 26, 2018



                                                David E. Mack
